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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 George E. Norcross, III, Gregory B.       :
 Braca, and Philip A. Norcross,            :
                     Plaintiffs,           :
                                           :   CIVIL ACTION
              vs.                          :   NO. 22-cv-04953 (BMS)
                                           :
 Republic First Bancorp, Inc., Harry       :
 Madonna, Andrew B. Cohen, Lisa
 Jacobs, Harris Wildstein, Peter B.        :
 Bartholow, and Benjamin C. Duster,        :
 IV,                                       :
                                           :
                     Defendants.           :
                                           :
                                           :
                                           :
                        [PROPOSED] INTERIM ORDER
      AND NOW, this ___ day of __________, 20___, upon consideration of the

Motion for Preliminary Injunction of Plaintiffs George E. Norcross, III, Gregory B.

Braca, and Philip A. Norcross (“Plaintiffs”), and in light of the pending Motion for

Expedited Remand, and to provide time for consideration of this Court’s jurisdiction

and for either this Court or the state court to consider the merits of Plaintiffs’

Preliminary Injunction Motion, it is hereby ORDERED that Defendants are

enjoined from convening the Company’s annual meeting of shareholders, currently

scheduled for January 26, 2023, until at least sixty (60) days after either this Court

or the Philadelphia Court of Common Pleas decides Plaintiffs’ motion for

preliminary injunction, or until further order of this Court.
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                                  BY THE COURT:



                                                  Berle M. Schiller, J.




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